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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

KEITH COOPER,                           )
                               Plaintiff,
                                        )
     v.                                 )             Case No. 3:17 CV 834 PPS MGG
                                        )
CITY OF ELKHART, STEVE                  )
REZUTKO, EDWARD WINDBIGLER, )
STEVEN AMBROSE and TOM                  )
CUTLER, in their individual capacities, )
                                        )
                          Defendants. )


                            MOTION TO QUASH SUBPOENA


       South Bend Tribune Corp., by its counsel, moves the Court under Fed. Rule Civ. Pro.

45(d)(3) to quash or modify the subpoena served upon the South Bend Tribune by the City of

Elkhart, a defendant in this case. In support of its motion, the Tribune files herewith:

       1.      Brief in Support of Motion to Quash or Modify Subpoena;

       2.      Declaration of Cory Havens, with exhibits;

       3.      Certificate of Compliance with N.D. Ind. Local Rule 37-1.

       WHEREFORE, the Tribune prays for an order quashing or modifying the City of Elkhart’s

subpoena, and for all other relief appropriate in the premises.
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                                Respectfully submitted,

                                EICHHORN & EICHHORN, LLP


                                      /s/ John P. Twohy
                                By:_________________________________
                                      One of the attorneys for
                                        South Bend Tribune Corp.


John P. Twohy
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                                 CERTIFICATE OF SERVICE

       I, John P. Twohy, hereby certify that on the          26th       day of July 2018, true and

complete copies of the foregoing Motion to Quash or Modify Subpoena, were served upon:

       Elliot R. Slosar
       Gayle M. Horn
       Heather Lewis Donnell
       Jon Loevy
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by e-mail, via the Case Management / Electronic Case Files (CM / ECF) System maintained by the

Clerk for the United States District Court for the Northern District of Indiana.

                                                             /s/ John P. Twohy

                                                                 John P. Twohy

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